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                   Thomas-Jensen
                    Affirmation
                     (redacted)


                     Exhibit # 110
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

 STATE OF NEW YORK, ET AL.

         Plaintiffs,

 v.                                                     C.A. No. 1:25-cv-00039-JJM-PAS

 DONALD TRUMP, in his Official
 Capacity as President of the United
 States, et al.

         Defendants


                                 Declaration of Lorette Picciano
                                       Executive Director
                                        Rural Coalition

      Lorette Picciano declares as follows:

        1.     I am the Executive Director of the Rural Coalition. The Rural Coalition is a

501(c)(3) nonprofit organization which since 1978 has focused on supporting our some 50

member community based organizations who have long served the needs of rural communities

and who have a fundamental role in building their future with important returns to our economy,

our environment, and our society. Among other things, the Rural Coalition solicits grant money

from other donors and government entities, including the federal government.

        2.     I have personal knowledge of the matters set forth below or have knowledge of

the matters based on my review of information and records gathered by my staff.

        3.     I am providing this declaration to explain some of the adverse impacts of the

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threatened and actual suspensions and impoundments of federal grant funding resulting from:

(1) President Trump’s Executive Orders; (2) the memorandum “Temporary Pause of Agency

Grant, Loan, and Other Financial Assistance Programs,” Matthew J. Vaeth, Acting Director

of the Office of Management and Budget (January 28, 2025) (“OMB Memo”); and (3) other

federal agency actions.

      4.      The Rural Coalition continues to see impacts from federal funding suspensions.

In 2022, the Rural Coalition was awarded a $7 million grant by the U.S. Department of

Agriculture, Award Number 2022-70416-37276.

      5.      This grant program is funded by the federal American Rescue Plan Act

(ARPA).

      6.      With this award, we are providing improved understanding of participation in

the full range of USDA programs and services among new and existing farmers, ranchers,

forest landowners and operators through supporting the organizational delivery of technical

assistance projects and networks. Rural Coalition and its partners in 10 states, including

Puerto Rico and Minnesota, provide technical assistance, program development, curriculum

development, deployment, and evaluation of impact in the following areas:

           • Introduction to USDA programs

           • Financial Literacy

           • Market Planning

           • Technical Support

      7.      The Rural Coalition’s grant is fully funded, and we have been accessing the

funds through the federal government’s ASAP (Automated Standard Application of
                                             2
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Payments) portal.

       8.      The Rural Coalition’s access to the funding account in the ASAP portal is

presently suspended. The screenshots from the ASAP portal showing the suspensions:

Are included in appendix 1.

       9.      In 2022, Rural Coalition was also awarded a $702,900 Grant from the USDA

Natural Resources and Conservation Service, Award Number NR223A750003C038.

       10.     This program provided intensive technical assistance to family farms, newer to

conservation and that actively feed their communities in 6 states and Puerto Rico. This

program reached over 3,000 farmers including in natural disaster-prone states such as

California and Florida. The groups educate farmers how to install practices that increase

resilience to disaster, strengthening local and regional food systems to withstand disasters

and lead farms to require less disaster relief. This work has enhanced community-led

conservation projects to reach more producers and build economic, social, and ecological

resilience according to the unique needs of farmers, ranchers and small-scale agriculture in

each region.

       11.     We have provide regular required progress and financial reports and have been

awaiting payment for a claim of $702,000 submitted early in January. We can no longer file

and track claims in the ez fed system and we have no idea when they will be paid. This delay

is causing us delay in implementing a new award because these awards are paid by

reimbursment and we need the funds to commence to the new work.

       12.     Continued suspensions of the grant funds will hamper the Rural Coalition’s

efforts to fulfill its mission and the purposes of this already-awarded grant. Specifically, it

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will cause major disruptions in our ability to retain our staff and for our partners to maintain

theirs with the potential loss of many talented staff. It will negatively affect the communities

we serve as follows by delaying work on installing community farmers and supporting

producers in increasing the resilience of their operations and their ability to feed their

communities.

       13.     We continue to be concerned that the funding or will continue to be delayed or

denied because they have suspended this grant from ASAP so we can no longer get access

and because we can no longer track our claims in the EZ-Fed system.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is
true and correct to the best of my knowledge.

Dated: __Feb 6, 2025
                                                   [Declarant]




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                                                     #: 5555


                                                                                                       Date: 02/05/2025
                                             Account Profile Inquiry                                      Time: 5:01 PM



ALC/Region:                             Agency Short Name:                    Account ID:
12402200                                NIFA
Recipient ID:                           Recipient Short Name:
                                        Rural Co

Inquiry Results:

 ACCOUNT DETAILS                                             GRANT DETAILS
          Requestor ID :                                                      Grant : Yes
            Account ID :                                             Federal Award
                                                             Identification Number
                          AMERICAN RESCUE PLAN                               (FAIN) : 20227041637276
   Account Description : TECHNICAL
                                                                      CFDA Number : 10234.000
    1031/LOC Account : No
                                                             Total Estimated Grant
          Account Type : Regular Account                                    Amount : $7,000,000.00
              Group ID :
       Control Account : No                                  AGENCY PAYMENT REVIEW
        Account Status                                             Agency Review : No
              Indicator : Suspended                             Threshold Amount :
     Available Balance : $4,697,105.96                          Reason for Review :
           Create Date : 05/06/2022
            Begin Date : 05/01/2022                          DRAW AMOUNTS
   Performance Period                                            Max Total Draw Amount :
              End Date : 04/30/2027
                                                                 Max Daily Draw Amount :
              End Date : 08/30/2027
                                                               Max Monthly Draw Amount :
       TAS Distribution                                       Max Quarterly Draw Amount :
               Method : Percentage by Account
      Allow Book Entry
           Adjustment : No                                   AUTOMATED AUTHORIZATION RENEWALS
    Allow Warehoused                                           Authorized Renewal
             Payments : No                                                  Amount : $0.00
        CMIA Indicator : No                                           Certified Date :
                                                                Renewal Frequency :
 CUMULATIVE AUTHORIZATIONS                                        Pending Renewal
            Cumulative                                                   Frequency :
    Authorized Amount : $7,000,000.00                          Pending Automated
            Cumulative                                            Renewal Amount : $0.00
    Authorized Amount                                        Rollover Reset Quarter :
          Reset Period :
                                                                     Default Action :
   Annual Reset Month :




                                                      1 of 1

                                            SENSITIVE BUT UNCLASSIFIED
                                                                        BUILD: 2024.10.01(39.0.5) | CLONE: (ASAPGov_Cluster_Clone2) | Current Cycle Date: 02/06/2025
                          Case 1:25-cv-00039-JJM-PAS               Document 68-110 Filed 02/07/25 Page 7 of 7 PageID
                                                                         #: 5556
                                                                                    Lorette Picciano
                                                                                  Working For 1120686




Initiiate Payme
              en t Re
                    equ
                      ue sts (PR)



                                                                   Step 1 of 4 (Continued)
                                                                     Retrieve Accounts




                                    ERROR 839: No accounts found matching criteria.
                                    Enter one or more of the following
                                                                 Recipient ID :
                                                                ALC / Region : 12402200
                                                       Account ID (or partial) : 70416372767041622000
